                   Case 3:21-cv-00100-PDW-ARS Document 2 Filed 04/30/21 Page 1 of 2

/RFDO$2 5HY 6XPPRQVLQD&LYLO$FWLRQ


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                                                                   IRUWKH

                                                          'LVWULFWRI1RUWK'DNRWD

      Randy Bartsch and Edward S. Christian, and
      their successors, as Trustees of the Dakotas
     Areawide IBEW-NECA Savings & Retirement
                    Plan and Trust,

                              Plaintiff


                                 Y                                          &LYLO$FWLRQ1R   3:21-cv-100

 The Lincoln National Life Insurance Company,




                             Defendant


                                                      SUMMONS IN A CIVIL ACTION

7R$ERYH1DPHG'HIHQGDQW V




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
3 D  RU  ²\RXPXVWVHUYHRQWKHSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQXQGHU5XOHRI
WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH
 Nathan T. Boone
 KUTAK ROCK LLP
 60 South Sixth Street, Suite 3400
 Minneapolis, MN 55402 | PH: 612-334-5000

       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
<RXDOVRPXVWILOH\RXUDQVZHURUPRWLRQZLWKWKHFRXUW

                                                                                ROBERT ANSLEY,CLERK OF COURT

                                                                               /s/ Pamela Bloomquist-Burman, Deputy Clerk
'DWH            April 30, 2021
                                                                                          Signature of Clerk or Deputy Clerk
                    Case 3:21-cv-00100-PDW-ARS Document 2 Filed 04/30/21 Page 2 of 2

/RFDO$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R          3:21-cv-100

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
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           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI                       


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
